CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 1 of 23




           EXHIBIT A
   DEFENDANTS’ NOTICE OF
FILING OF NOTICE OF REMOVAL
OF ACTION FROM STATE COURT
        CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 2 of 23




STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT


Sven Sundgaard,                                                       Court File No.

                        Plaintiff,

v.                                                                   SUMMONS

Multimedia Holdings Corporation, cVb/a
KARE-TV and d/b/a KARE 1.1; TEGNA,Inc.,

                        Defendant.


THIS SUMMONS IS              DIRECTED       TO    DEFENDANT         MULTIMEDIA         HOLDINGS
CORPORATION:

     1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The Plaintiff's
        Complaint against you is attached to this Summons. Do not throw these papers away. They
        are official papers that affect your rights. You must respond to this lawsuit even though it
        may not yet be filed with the Court and there may be no court file number on this Summons.

     2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You must
        give or mail to the person who signed this Summons a written response called an Answer
        within 20 days of the date on which you received this Summons. You must send a copy of
        your Answer to the person who signed this Summons located at:
                BAILLON THOME JOZWIAK & WANTA LLP
                100 South Fifth Street, Suite 1200
                Minneapolis, MN 55402

     3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response to
        the Plaintiff's Complaint. In your Answer you must state whether you agree or disagree
        with each paragraph of the Complaint. If you believe the Plaintiff should not be given
        everything asked for in the Complaint, you must say so in your Answer.

     4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN RESPONSE
        TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS.If you
        do not Answer within 20 days, you will lose this case. You will not get to tell your side of
        the story, and the Court may decide against you and award the Plaintiff everything asked
        for in the Complaint. If you do not want to contest the claims stated in the Complaint, you
        do not need to respond. A default judgment can then be entered against you for the relief
        requested in the Complaint.




                                                 1
      CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 3 of 23




   5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not have
      a lawyer, the Court Administrator may have information about places where you can get
      legal assistance. Even if you cannot get legal help, you must still provide a written
      Answer to protect your rights or you may lose the case.

   6. ALTERNATE DISPUTE RESOLUTION. The parties may agree to or be ordered to
      participate in an alternative dispute resolution process under Rule 114 of the Minnesota
      General Rules ofPractice. You must still send your written response to the Complaint even
      if you expect to use alternative means of resolving this dispute.


Dated: March 25, 2021                      s/ Joni M.Thome
                                           Joni M. Thome
                                           Bar No. 232087
                                           Frances E. Baillon
                                           Bar No. 028435X
                                           Attorneysfor Plaintiff
                                           BAILLON THOME JOZWIAK & WANTA LLP
                                            100 South Fifth Street, Suite 1200
                                           Minneapolis, MN 55402
                                           Telephone:(612) 252-3570
                                           Fax:(612)252-3571
                                           jthome@baillonthome.com
                                           fbaillon@baillonthome.com




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        CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 4 of 23




STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT


Sven Sundgaard,                                                      Court File No.

                        Plaintiff,

v.                                                                  SUMMONS

Multimedia Holdings Corporation, d/b/a
KARE-TV and d/b/a KARE 11; TEGNA, Inc.,

                        Defendant.


THIS SUMMONS IS DIRECTED TO DEFENDANT TEGNA,INC.:

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      CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 5 of 23




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Dated: March 25, 2021                      s/ Joni M.Thome
                                           Joni M. Thome
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                                           Telephone:(612)252-3570
                                           Fax:(612)252-3571
                                           jthome@baillonthome.com
                                           fbaillon@baillonthome.com




                                              2
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 6 of 23




        STATE OF MINNESOTA                                                         DISTRICT COURT

        COUNTY OF HENNEPIN                                            FOURTH JUDICIAL DISTRICT


        Sven Sundgaard,                                                    Court File No.

                               Plaintiff,
                                                                      COMPLAINT AND
        V.                                                             JURY DEMAND

        Multimedia Holdings Corporation, d/b/a
        KARE-TV and d/b/a KARE 11; TEGNA,Inc.

                               Defendants.


               The Plaintiff, Sven Sundgaard ("Plaintiff' or "Sundgaard"), for his Complaint against

       Defendants, states and alleges as follows:

                                   PARTIES,JURISDICTION & VENUE

        I.     Plaintiff resides in the County of Hennepin, State of Minnesota.

       2.      Defendant Multimedia Holdings Corporation is a South Carolina corporation with a

principal place of business at 7950 Jones Branch Drive, McLean, Virginia, 22107.

       3.      Defendant TEGNA is a Virginia corporation headquartered in Tyson, Virginia. TEGNA

owns KARE TV. Its studios are located at 8811 Olson Memorial Hwy,Golden Valley, MN 55427. KARE

TV also operates under KARE-11. KARE-TV is a television station providing local news and general

interest programming in the Twin Cities and greater Minnesota television market.

       4.      At all relevant times to this action, Plaintiff and Defendants were "employee" and

"employer," respectively within the meaning of Minn. Stat. § 363A.03.

       5.     The Court has personal jurisdiction over the parties because Plaintiff is domiciled in

Minnesota, Defendants conduct business in Minnesota, and the alleged unlawful employment actions at

issue occurred in Minnesota.
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 7 of 23




       6.      Venue is proper in Hennepin County pursuant to Minn. Stat. § 542.09. Defendants have

employees, including Plaintiff, in Hennepin County, does substantial business in Hennepin County.

Plaintiff worked for Defendants in the Hennepin County, State of Minnesota, and the unlawful acts alleged

herein occurred in the Hennepin County, State of Minnesota.

                                                    FACTS

       7.     TEGNA and then General Manager, John Remes, hired Sundgaard as a meteorologist and

weather reporter in 2006.

       8.     Sundgaard was a long-term employee who consistently performed well and met or

exceeded expectations.

       9.      Moreover, Sundgaard developed a solid brand and a large following among viewers.

       10.    Sundgaard is a gay, Jewish man.

       1 1.   Initially, Sundgaard was not open about his sexual orientation at work out offear as to how

management would treat him. As time went on, Sundgaard became more comfortable and confident in his

role, and in approximately 2007 or 2008, he began to disclose his sexual orientation to some coworkers

and members of management.

       12.    In 2010, Sundgaard converted to Judaism. He took part in a ceremony conducted by three

rabbis in a religious court. He was open about his Judaism at work and was occasionally asked questions

about Judaism that left him feeling uncomfortable. For example, News Director, Jane Helmke, asked

Sundgaard if as a Jew, he still believed Jesus was the Messiah. The invasive comment made Sundgaard

very uncomfortable and he was unsure how to respond.

       1 3.   In the spring of 2007 Sundgaard appeared on the cover of Lavender magazine as part of a

promotion for Dining Out for Life, benefiting the Aliveness Project, an organization that serves people

living with HIV/AIDS for the purpose of promoting healthy lives.
                 CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 8 of 23




          14.    In response to seeing Sundgaard on the cover of the magazine, then News Director Tom

Lindner ("Lindner") was irate. He called Sundgaard and furiously demanded,"What are people going to

think?"

          15.    Rather than allow himself to be degraded, Sundgaard responded,"What are people going

to think, Tom?"

          16.    Sundgaard reported Lindner's hostile comment to Human Resources Director Sue Reimer

("Reimer"), but never received any follow up.

          1 7.   In or around late March of 2011, Lindner sent Sundgaard a hostile email regarding a

promotional photoshoot Sundgaard had done, copying many coworkers.

          18.    Sundgaard went to Lindner's office to discuss the email, asking why Lindner had not

discussed the issues with Sundgaard personally before publishing the hostile information to his coworkers.

          19.    The conversation escalated and ended with Lindner screaming, "Get the fuck out of my

office!"

          20.    Lindner's office door was open. Many of Sundgaard's coworkers and superiors, including

then—Evening News Producer Jen Young, heard Lindner's screaming and watched Sundgaard exit his

office.

          21.    Again, Sundgaard reported the incident to Reimer, and again, Reimer failed to follow up.

          22.    Approximately four weeks later, Lindner was dismissed. TEGNA did not disclose to

Sundgaard or publish the reason for Lindner's dismissal.

          23.    On several more occasions throughout Reimer's tenure, Sundgaard reported similar

incidents of differential treatment toward him based in part, on his sexual orientation and prior reports of

discrimination or harassment. No matter how many times he reported, the hostility and differential

treatment continued. For example, unlike other meteorologists, TEGNA rejected his requests to attend



                                                        3
                CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 9 of 23




conferences to maintain his status with the American Meteorological Society, delayed responding to

requests for time off, and demanded to know his whereabouts at all times.

          24.   Sundgaard knew that other meteorologists and journalists were regularly approved to

attend conferences and events. These events often included travel and lodging expenses.

          25.   Unlike his coworkers, Sundgaard paid his own expenses for travel to conferences and other

events.

          26.   Sundgaard was made to account for his work time so that management could determine

whether he was working "his full shift." Group Human Resource Director Nikki Mills ("Mills")regularly

questioned Sundgaard's schedule and told him to provide an accounting of his time and activities. In

2017, when Mills was issuing Sundgaard a disciplinary warning Sundgaard noted to Mills that other

employees and anchors were not held to the same standards. He told Mills that under the law, she could

not apply different standards to him. She replied, "we are not talking about them." Remes was in the

conversation and remained silent.

          27.   In or around August 2017, the National Lesbian and Gay Journalists Association(NLGJA)

invited Sundgaard to speak on a panel at a conference.

          28.   The panel was specifically about being LGBTQ and working as a meteorologist.

          29.   By this time, Sundgaard was nationally known as.a meteorologist and out gay man that had

worked in the business for many years.

          30.   Sundgaard had other similar opportunities in the past, but they were never considered by

management.

          31.   Nevertheless, Sundgaard believed this was an important opportunity and that it was

consistent with TEGNA's written commitment to diversity.




                                                         4
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 10 of 23




        32.   - Around this same time, Sundgaard's mother's birthday was approaching. His mother had

been diagnosed with and was going through treatment for late-stage cancer. Sundgaard and his family

feared that it would be the last birthday he would celebrate with her.

       33.     Approximately one month before the conference and within days of his being invited to

speak at the conference, Sundgaard informed Helmke that he had been invited to the conference and

requested time off to attend to be a part of the panel discussion.

       34.     Around the same time, Sundgaard requested time off to spend time with his mother for her

birthday.

       35.     On August 7, 2017, Sundgaard and Helmke exchanged emails regarding his request.

       36.     Helmke denied the request to attend and present at the conference on grounds that the

station did not have the funds or staffing to send Sundgaard. Helmke told Sundgaard that TEGNA

corporate had already arranged for another member of KARE 11's on-air talent, a woman, to attend the

conference. Sundgaard had reason to believe that the reasons he was given for TEGNA denying his request

were unfounded and illegitimate.

       37.     Nevertheless, Sundgaard persisted in trying to get the station to approve his time away for

the conference. Sundgaard offered to arrange for and pay his own way to the conference. He also suggested

potential staffing solutions for Helmke to consider.

       38.     Helmke denied the request again.

       39.     Frustrated, Sundgaard suggested that he would speak with someone in the corporate office.

Helmke responded that it was not a corporate decision, but a station decision, and that he could speak with

Remes about his concerns. Sundgaard questioned the value of speaking with Remes and thought Helmke's

decision raised corporate-level concerns about TEGNA's company policies and commitments to diversity.




                                                         5
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 11 of 23




       40.     At the same time, Helmke told Sundgaard that there was not enough staff to approve his

request for time off to be with his mother. Sundgaard reiterated his need for family leave to be with his

dying mother and for time off to attend the conference.

       41.     Less than ten days later, on August 16, 2017, TEGNA issued Sundgaard a warning for

alleged insubordinate and unacceptable behavior directed toward Helmke. The warning also advised

Sundgaard that to the extent he needed leave to spend time with his mother, he would need to make a

request thirty days in advance unless it was an emergency. The warning was issued by Helmke, Remes,

and Mills.

       42.     On or around August 22, 2017, Sundgaard emailed Helmke, Remes, and Mills disputing

the warning and reporting his concerns regarding its retaliatory animus.

       43.     Specifically, Sundgaard reported his concern that his attempts to highlight TEGNA's

supposed commitment to diversity made Helmke nervous.

       44.     Sundgaard further explained that based on KARE 11's prior pattern of mistreatment toward

him, he believed that Helmke did not want him to speak at the conference about his experience at KARE

1 1 as a publicly gay on-air personality.

       45.     Sundgaard reported that he had experienced "mistreatment, double standards, and singling

out" throughout his tenure at the station. Sundgaard noted that he received this warning only after he

brought up concerns about diversity and inclusion and after the scheduling issue was resolved. Sundgaard

suggested that the warning was an attempt by Helmke to intimidate him out of reporting up the chain,

including to TEGNA corporate.

       46.     In the end, TEGNA determined that there was sufficient staff for him to attend the

conference and approved his request for time off.




                                                       6
               CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 12 of 23




        47.        Sundgaard's mother passed away just hours before he was to leave for the conference, so

ultimately, he was unable to attend.

        48.        Less than three months later, on November 20, 2017, Remes, Helmke, and Mills issued

Sundgaard a final written warning.

        49.        This warning alleged that Sundgaard exercised "poor judgment" when four days earlier,

during a newscast, he commented on a story about whether Minnesota or Wisconsin had more lakes. At

the end of the story in which it was explained that even though Wisconsin has no limit as to the size of a

body of water it counts as a lake, Minnesota still has more lakes, Sundgaard commented with a statement

to the effect of,"Hmm,I guess size really does matter."

        50.        Cohosts and other staff in the studio laughed and nodded in agreement.

        51.        According to the warning, Sundgaard's "sexually loaded" comment was "disrespectful" to

the audience and the brand and created an uncomfortable environment for his cohosts.

        52.        None of Sundgaard's cohosts or other staff ever expressed discomfort about the comment

at the time it was made or thereafter. In fact, his coworkers expressed disbelief that he was reprimanded

about it at all.

        53.        Less than two months after the November 2017 writeup, TEGNA ran and posted a story

about an error made regarding uniforms that had been ordered for the Minneapolis Super Bowl volunteers.

        54.        The story was titled, "Size Matters: Crew 52 Volunteers Struggle with Ill Fitting Swag."

This story is still online at www.karel 1 .com/article/sports/nfl.

        55.        Moreover, about two months prior to the November 2017 writeup, TEGNA posted an

article titled, "Does Size Matter: Twitter Trolls Tiny Engagement Ring." This story is also still online at

www.karell.com/video/entertainment/buzz60.




                                                          7
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 13 of 23




       56.     After the meeting at which Sundgaard was issued the November 2017 writeup, Sundgaard

told Mills that he was not going to be treated and be terminated like Kim Insley ("Insley").

       57.     Insley was a well-known KARE 11 anchor for twenty-four years before being dismissed

without explanation other than that the station wanted to "go in a new direction." At the time of her

termination, Insley was fifty-six years old. Many viewers believed she was dismissed due to age

discrimination, and the topic was widely discussed by viewers online and by other news outlets.

Defendants publicly noted in reference to Insley's departure, "This is in no way a reflection of Kim's

many talents." Insley's departure became known in mid-October.

       58.     Station management, including Remes and Mills, knew about the public and internal

chatter regarding discrimination against Insley, as Insley had been terminated just weeks prior to this final

warning issued to Sundgaard. Mills knew that Sundgaard's comment referred to his desire not to be

discriminated against.

       59.     Sundgaard received no other discipline until his termination in May 2020.

       60.     He performed very well, received positive performance reviews, and continued to receive

constant positive feedback from a large community following.

       61.     At the same time, however, viewers harassed Sundgaard based on his sexual orientation.

He was routinely threatened and subjected to hostility in posts and comments on Facebook, Twitter and

other social and news venues. The harassment and hostility directed at Sundgaard was frequent and public.

TEGNA did nothing to attempt to protect Sundgaard or condemn the hostility. This continued throughout

Sundgaard's employment.

       67.     Sometime in 2018, TEGNA conducted an anonymous survey that revealed severe cultural

issues with the work environment at KARE 11. It hired a consultant to investigate the workplace culture.




                                                         8
                CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 14 of 23




        63.       The consultant assembled employee focus groups and held quarterly meetings to address

the issues. The consultant asked Sundgaard to have a one-on-one conversation with her and Sundgaard

welcomed the opportunity telling her that he had,"a lot to say." The scheduled meeting was cancelled

due to a snowstorm. Sundgaard asked to reschedule but he never heard back from the consultant.

        64.       In or around October 2018, Director of Content Stuart Boslow ("Boslow") spoke with

Sundgaard about a tweet he had posted. Sundgaard had retweeted a post by NBC's 'Meet the Press'

Moderator Chuck Todd that criticized Donald Trump. Sundgaard added,"It's time to stop making excuses

for Trump & fascism - we're really in a test of our democracy & facts & science...."

       65.        A few days after this post, Boslow casually invited Sundgaard into his office and told him

that he was not being given any kind of warning or discipline, but that he had been told to talk with

Sundgaard about the post since Trump was referred to by name. The conversation was light and amicable.

       66.        Soon after, Boslow followed up via email with Remes, Mills, and News Director, Stacey

Nogy ("Nogy") to report on the conversation. Boslow mischaracterized the nature and tenor of the

conversation.

       67.        Boslow wrote to Remes, Mills and Nogy that the two discussed Sundgaard's alleged

history of similar behavior and past discipline for it, and that Sundgaard acknowledged his violation of

station policy.

       68.        No discussion of any past conduct occurred in that meeting and no discussion of station

policy was had.

       69.        Throughout Sundgaard's employment, TEGNA inconsistently applied its social media

policies.

       70.        TEGNA's Social Media Policies forbid posting, reposting, sharing, or retweeting

"anything that could compromise TEGNA's reputation," as well as "comments that include discriminatory



                                                          9
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 15 of 23




remarks, harassment, threats of violence or similar content." These guidelines apply to all TEGNA

employees.

       71.     According to some policies, news and editorial employees are not allowed to post political

commentary without prior management approval and must clearly label such posts as opinion or

commentary. The policy also encourages news and editorial employees to consider whether their posts are

"true, fair, necessary, and informative," and condemns personal attacks and abusive language.

       72.     Management, as well as on-air talent, have repeatedly violated such policies through their

own posts and by "liking" others' posts indicating their approval. This includes but is not limited to liking

posts and videos featuring nude women, describing anti-LGBTQ people as "insolent adults whining...",

criticizing NBC for using the word "protest" rather than "riot" in the wake of the George Floyd killing,

criticizing Minnesota Governor Tim Walz and Mayor Jacob Frey's responses to the protests, praising

Donald Trump's State of the Union address and referring to Nancy Pelosi as an "embarrassment and a

"national disgrace."

       73.     Other TEGNA employees who have and continue to publicly engage with social media in

apparent violation of TEGNA's alleged policies have not been disciplined and remain employed by

TEGNA.

       74.     On or around April 19, 2020, Sundgaard reposted a post written by his rabbi, Michael

Adam Latz ("Rabbi Latz") on Facebook. Rabbi Latz commented on the COVID-19 stay-at-home order

protests referring to some of the Michigan protesters as "nazi sympathizers" and "armed extremists."

       75.     Rabbi Latz's comment was based on anti-Semitic protest signs. As Jewish men, Rabbi Latz

and Sundgaard are sensitive to these matters and take their historical importance very seriously.

       76.     During approximately the next eleven days, the repost did not receive much attention from

the public.



                                                         10
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 16 of 23




       77.     On or around April 29, 2020, a conservative news outlet published the repost,

mischaracterizing the facts and berating Sundgaard.

       78.     In a post on the Reopen Minnesota Facebook group, the administrator posted with the

hashtag "#FireSven" and provided the KARE 11 phone number for members of the group to call.

       79.     Other members of the group posted about flooding KARE 11's Facebook, boycotting the

network, and even contacting advertisers to put pressure on the station.

       80.     As a result, Sundgaard received a slew of threats and brazenly homophobic comments and

messages on social media.

       81.     The frenzy quickly escalated to a public condemnation on Twitter by a former

congressman. This person referred to Sundgaard's repost as "idiocy" and called for TEGNA to fire him.

       82.     The same night, Sundgaard removed the repost from his Facebook page.

       83.     The next day, April 30,2020, Mills and Boslow called Sundgaard about the repost. Boslow

asked Sundgaard what he was thinking.

       84.     Sundgaard responded that as Jewish men, Sundgaard and Rabbi Latz are sensitive to these

issues, and Rabbi Latz does not use the word "nazi" lightly. He explained that the issue Rabbi Latz's post

addressed was not the protests condemning the stay-at-home orders, but the protest signs displaying

swastikas and comparing Jews to rats captioned with the statement, "that's the real plague."

       85.     Sundgaard explained to Mills and Boslow that the negativity surrounding the post was

incited by alt-right groups eleven days after he reposted and was directed at him personally.

       86.     Sundgaard told Boslow and Mills that he feared for his safety because he had received

threats of physical harm. He quoted some of the hateful messages and offered to forward them.




                                                       II
              CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 17 of 23




       87.     Sundgaard expressed regret about the repost and told Boslow and Mills he would be

sticking to posting about weather from then on. He told them he never wanted to be targeted by these

groups again and he was willing to discuss a remedy that would stop the hostility.

       88.     The next day Remes summarily dismissed Sundgaard.

       89.     On May 1, 2020, Remes called Sundgaard, along with Boslow and Mills. Remes read

Sundgaard's termination letter aloud, claiming Sundgaard's repost allegedly violated TEGNA policies.

       90.     Sundgaard responded that he was planning on resigning in response to the current situation

because of the organization's pattern of failing to support him in past instances of discrimination, as well

as its decision to placate far-right/alt-right fringe groups rather than stand behind a long-time employee.

       91.     Sundgaard also noted that Defendants did not apply its social media or other policies

uniformly among its employees. Finally, Sundgaard told TEGNA that it should expect to hear from his

lawyer.

       92.     Just thirty minutes later, TEGNA publicly announced Sundgaard's termination on

Facebook.

       93.      The post stated: "Due to continued violations of KARE 11's news ethics and other

policies, we have made the decision to part ways with Sven Sundgaard. We hope you continue to turn to

KARE 11 for your news, traffic, weather, and more."

       94.     The statement was not only facially false, but the result was that viewers were led to believe

that Sundgaard had behaved unethically or worse, several times and continuously.

       95.     Sundgaard demanded TEGNA remove the post, but TEGNA did not respond.

       96.     Just hours after it was published, other news outlets reported on Sundgaard's termination

and circulated TEGNA's post.




                                                        12
               CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 18 of 23




        97.     The re-publishing prompted more comments and discussion online. Within the week,

coverage of the story was global.

        98.     TEGNA's public announcement of Sundgaard's separation was unprecedented and a

departure from customary practice in its content and in the manner and to whom it was communicated.

        99.     Never during Sundgaard's employment with TEGNA did it terminate another employee in

such a public and damaging manner.

        100.    There is no known history of TEGNA publishing such detailed alleged reasons for

separations—true or untrue. In fact, in December 2020,after terminating an employee, Nogy told the press

"I'm sony, but we don't comment on personnel issues."

        101.   TEGNA's enforcement of its social media policies on Sundgaard was unprecedented and

a departure from customary practice.

                                          COUNT I
                            SEXUAL ORIENTATION DISCRIMINATION
                     IN VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT

        102.   Plaintiff re-alleges all preceding paragraphs of this Complaint.

        103.   Defendants, by and through employees, managers, and officials acting within the scope of

their employment and on behalf of Defendants, unlawfully discriminated against Plaintiff in violation of

Minnesota Human Rights Act, Minn. Stat. § 363A.01 et seq. These practices include, but are not limited

to, terminating Plaintiff's employment, subjecting Plaintiff to a hostile environment and altering the terms

and conditions of his employment because of his sexual orientation.

        104.   Defendants' conduct constitutes discrimination in employment on the basis of sexual

orientation in violation of Minn. Stat § 363A.01 et seq.

        105.   Defendants' discriminatory actions adversely affected Plaintiff's status as an employee and

ultimately led to Plaintiff's termination.



                                                        13
                CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 19 of 23




        106.     Defendants failed to take all reasonable steps to prevent discrimination against Plaintiff

from occurring.

        107.     Defendants' discriminatory actions were intentional and performed with malice and/or

reckless indifference to Minnesota's anti-discrimination laws that protect Plaintiff.

        108.     As a direct and proximate result of Defendants' conduct, Plaintiff suffered and continues

to suffer emotional distress, humiliation, embarrassment, pain and suffering, loss of wages and benefits,

and other serious damage.

                                          COUNT II
                          SEXUAL ORIENTATION HOSTILE ENVIRONMENT
                      IN VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT

                Plaintiff re-alleges all preceding paragraphs of this Complaint.

        109.     Defendants, by and through employees, managers, and officials acting within the scope of

their employment and on behalfof Defendants, unlawfully subjected Plaintiff to hostility and threats based

upon his sexual orientation. Defendants failed to provide a work environment free from animus directed

at Plaintiff based upon his sexual orientation.

        1 10.    Defendants' conduct and its failures to act constitutes violation of the Minnesota Human

Rights Act, Minn. Stat. § 363A.01 et seq.

        1 11.   Defendants' actions and inactions adversely affected Plaintiff's status as an employee and

ultimately led to Plaintiff's termination.

        1 12.   Defendants failed to take all reasonable steps to prevent discrimination against Plaintiff

from occurring.

        1 13.   Defendant's discriminatory actions were intentional and performed with malice and/or

reckless indifference to Minnesota's anti-discrimination laws that protect Plaintiff.




                                                         14
               CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 20 of 23




       114.    As a direct and proximate result of Defendants' conduct, Plaintiff suffered and continues

to suffer emotional distress, humiliation, embarrassment, pain and suffering, loss of wages and benefits,

and other serious damages.

                                           COUNT III
                                    REPRISAL IN VIOLATION OF
                                THE MINNESOTA HUMAN RIGHTS ACT

       1 15.   Plaintiff re-alleges all preceding paragraphs of this Complaint.

       1 16.   Defendants by and through managers and employees acting on behalf of Defendants and

within the scope of their employment, retaliated against Plaintiff in violation of the Minnesota Human

rights Act, Minn. Stat. 363A.01 et seq. These practices include, but are not limited to, engaging in

retaliatory conduct like reprimanding Plaintiff, inhibiting his professional development, terminating

Plaintiff's employment, departing from customary employment practices, publishing false, damaging

statements about Plaintiff because of Plaintiff's good faith reports to Defendants of discrimination and

harassment in violation of the Minnesota Human Rights Act.

       1 17.   Defendants' unlawful and retaliatory employment practices and actions were intentional

and were performed by Defendants with malice and/or reckless indifference to the anti-discrimination

laws which protect Plaintiff

       1 18.   Defendants failed to take all reasonable steps to prevent retaliation against Plaintiff from

occurring.

       1 19.   As a direct and proximate result of Defendants' conduct, Plaintiff suffered and continues

to suffer emotional distress, humiliation, embarrassment, pain and suffering, loss of wages and benefits,

and other serious damages.




                                                       15
                 CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 21 of 23




                                                    COUNT V
                                                  DEFAMATION

        120.     Plaintiff re-alleges all preceding paragraphs of this Complaint.

        121.     Defendants' actions constitute defamation and defamation per se.

        122.     Defendants, by and through employees, managers, and officials acting within the scope of

their employment and on behalf of Defendants, published a false, defamatory statement about Plaintiff to

third parties.

        123.     This includes, statements made on May 1, 2020, when Defendants publicly stated that

Plaintiff had ended Sundgaard employment because he "continued to engage in violations of KARE 11's

news ethics and other policies" within his profession,journalism.

        124.     Defendants' actions were intentional and intended to harm Plaintiff in his profession.

        125.     Defendants' actions were performed with actual malice, malice and/or reckless

indifference to Plaintiff's right not to be defamed under Minnesota common law.

        126.     Defendants refused to remove the false and defamatory statement from social media and

permitted the false allegations to permeate social media and news media worldwide.

        127.     As a direct and proximate result of Defendants' conduct, Plaintiff suffered and continues

to suffer emotional distress, humiliation, embarrassment, pain and suffering, loss of wages and benefits,

and other serious damages and has harmed Plaintiff's reputation and lowered Plaintiff in the estimation of

the community.




                                                         16
        CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 22 of 23




                                        PRAYER FOR RELIEF

            Therefore, Plaintiff requests that judgment be entered against Defendants for the

following:

            a.     Declaring that Defendants' acts or omissions described in this Complaint constitute

violations of applicable federal and state laws which protect Plaintiff;

            b.     Enjoining Defendants and its employees, officers, directors, agents, successors,

assignees, affiliates, merged or acquired predecessors, parent or controlling entities, subsidiaries

and all other persons acting in concert or participation with it, from its unlawful acts;

            c.     Requiring Defendants to make Plaintiff whole for its adverse, retaliatory, and

discriminatory actions with compensatory damages and with interest of an appropriate inflation

factor;

            d.     Plaintiff be awarded front pay and the monetary value of any employment benefits

to which he would have been entitled to as an employee of Defendants;

            e.     Plaintiff be awarded compensatory damages in an amount to be established at trial;

            f.     Plaintiff be awarded damages for mental and emotional anguish and suffering,

humiliation, embarrassment, shame, and loss of enjoyment of life in an amount to be established

at trial;

            g.     Plaintiff be awarded punitive damages as provided by statute in an amount to be

established at trial;

            h.     Plaintiff be awarded treble damages pursuant to the Minnesota Human Rights Act;

            1.     Awarding Plaintiff attorneys' fees, costs, and disbursements pursuant to statute; and

          J.       Granting other and further relief as the Court deems fair and equitable.



                                                    17
      CASE 0:21-cv-00999-JRT-JFD Doc. 1-1 Filed 04/15/21 Page 23 of 23




PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS.


Dated: March 25, 2021                          BA1LLON THOME JOZW1AK & WANTA LLP


                                               s/Joni M Thome
                                               Joni M. Thome
                                               Bar. No. 232087
                                               Frances E. Baillon
                                               Bar No. 028435X
                                               Attorneyfor Plaintiff
                                               100 South Fifth Street, Suite 1200
                                               Minneapolis, MN 55402
                                               Telephone:(612).252-3570
                                               Facsimile:(612)252-3571




                                  ACKNOWLEDGMENT
The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney's fees
may be awarded pursuant to Minn. Stat. § 549.211 to the party against whom the allegations in
this pleading are asserted.


Dated: March 25, 2021                      s/Joni M Thome
                                           Joni M. Thome




                                              18
